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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No. 1:22-cv-01129-NYW-SKC

   ERIC COOMER, PH.D.,

          Plaintiff,

   v.

   MICHAEL J. LINDELL, FRANKSPEECH
   LLC, AND MY PILLOW, INC.,

          Defendants.


    DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR EXTENSION OF TIME
      TO FILE RESPONSE TO DEFENDANTS’ OMNIBUS MOTION FOR SUMMARY
               JUDGMENT AND REQUEST FOR EXPEDITED ORDER


                                          INTRODUCTION

          Plaintiff filed an improper motion and now seeks to use it for further relief. No good cause

   exists to deviate from the standard briefing schedule of D.C.COLO.LCivR 56.1(a), and Plaintiff’s

   Motion for Extension of Time (ECF #182) should be denied.

                                            ARGUMENT

          1.      Plaintiff filed a Motion for Sanctions on September 7. (ECF #172). Defendants will

   respond in due course to that Motion on or before the deadline of September 28, 2023.

   D.C.COLO.LCivR 7.1(d).

          2.      As Defendants’ forthcoming response will detail, Plaintiff’s Motion for Sanctions

   is improper because Plaintiff did not make a good-faith effort to meet and confer prior to bringing

   it, as required by Federal Rule of Civil Procedure 37(a)(1), D.C.COLO.LCivR 7.1(a), and Section

   12 of the Court’s Scheduling Order (ECF #32 (citing D.C.COLO.LCivR 7.1(a))). Instead, Plaintiff
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   sent a single email stating “We’ll be filing a motion for sanctions under FRCP 30 and 37 arising

   from Lindell’s conduct in his deposition on August 23. I assume you’ll oppose, but please

   confirm.” (Ex. 1). This email was a declaration of Plaintiff’s predetermined course of action—not

   an attempt to resolve the issue.

          3.      Defendants’ forthcoming response will also detail that the Motion for Sanctions is

   improper because Plaintiff failed to seek an order to compel a disclosure or response prior to filing

   the Motion. Compare Fed. R. Civ. P. 37(a)(3)(B)(i), with id. at 37(b)(1)–(2) (requiring

   disobedience of a court order prior to a finding of contempt or the issuance of “further just orders”

   such as sanctions).

          4.      Because Plaintiff failed to follow the Court’s Scheduling Order, the Local Rules of

   Practice, and the Federal Rules of Civil Procedure in filing the Motion for Sanctions, the Court

   should strike the Motion for Sanctions “without substantive consideration or [order] other

   appropriate sanctions.” Civ. Practice Standard 1.1(c); see also id. at 7.1A(c) (permitting Court to

   deny without prejudice or strike sua sponte motions filed without proper certification under

   D.C.COLO. LCiv 7.1(a)).

          5.      As Defendants will further detail in their forthcoming response to Plaintiff’s Motion

   for Sanctions, that Motion, even if it had been filed timely and after a good-faith effort to meet and

   confer, is also legally insufficient to sustain any sanction under Fed. R. Civ. P. 30.

          6.      A district court has discretion, but is “in no way obligated to,” impose appropriate

   sanctions when a person “‘impedes, delays, or frustrates the fair examination of the deponent.’”

   Nebeker v. Nat’l Auto Plaza, 643 Fed. Appx. 817, 826 (10th Cir. 2016) (quoting Fed. R. Civ. P.

   30(d)(2)). To prevail on a sanctions motion under Rule 30, assuming it is properly brought in the

   first instance, the moving party “must identify language or behavior that impeded, delayed, or




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   frustrated the fair examination of the deponent. When making this inquiry, the court will look to:

   (1) the specific language used (e.g., use of offensive words or inappropriate tones); (2) the conduct

   of the parties (e.g., excessive objections or speaking objections); and (3) the length of the

   deposition.” Nichols v. Denver Health & Hosp. Auth., No. 19-cv-02818-DDD-KLM, 2020 U.S.

   Dist. LEXIS 167381,1 at * 6–7 (D. Colo. Sept. 14, 2020) (citing Fed. R. Civ. P. 30(d)(2); Dunn v.

   Wal-Mart Stores, Inc., No. 2:12-cv-01660-GMN-VCF, 2013 U.S. Dist. LEXIS 157554,2 at *14

   (D. Nev. Nov. 1, 2013)).

           7.     Defendant Lindell did not impede, delay, or frustrate his examination on August

   23, 2023. He answered all questions fully and truthfully. Indeed, within the first fifteen minutes of

   his deposition, it had apparently already been decided that Plaintiff would be bringing the Motion

   for Sanctions. (Lindell Dep., ECF #173 (Restricted), at 21:15–20). Lindell’s deposition then

   proceeded for another four hours of on-the-record time, and approximately six hours of real time,

   before Plaintiff opted to end it. (See id. at 4:1 (on the record at 9:22 am), 116:13–15 (off the record

   at 10:42 am), 116:18–20 (on the record at 11:04 am), 230:1–2 (off the record at 12:30 pm), 230:5–

   7 (on the record at 1:42 pm), 289:23–25 (off the record at 2:29 pm), 290:5–7 (on the record at 2:30

   pm), 319:2–4 (off the record at 2:51 pm), 319:7–9 (on the record at 3:06 pm), 359:18–19 (off the

   record at 3:37 pm), 359:22–24 (on the record at 3:40 pm), 367:18 (off the record at 3:47 pm)).

           8.     As stated herein and as will be more fully addressed in Defendants’ response to the

   Motion for Sanctions, Plaintiff’s Motion for Extension of Time is therefore based on Plaintiff’s

   procedurally improper and legally insufficient Motion for Sanctions. The Motion for Extension of

   Time should be denied on that basis alone.


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          9.      However, even if Plaintiff’s Motion for Sanctions were not procedurally and

   substantively deficient, Plaintiff still has not shown good cause to amend the standard deadlines

   of D.C.COLO.LCivR 56.1(a).

          10.     It is inaccurate that Plaintiff’s requested relief “will guarantee an orderly

   adjudication of issues in this dispute by ensuring that Dr. Coomer’s response to Defendants’

   Motion encompasses all evidence potentially relevant to the Court’s disposition of Defendants’

   Motion, rather that potentially requiring amendments or supplements subsequent to full briefing.”

   (ECF #182, ¶ 7).

          11.     Granting Plaintiff’s Motion for Extension of Time cannot “guarantee” such

   “orderly adjudication,” because, as Plaintiff acknowledges, there are already other motions

   relevant to discovery that remain pending before the Court. (Id. ¶ 9). Plaintiff’s Motion for

   Extension of Time seeks to move an improper motion to the front of the line.

          12.     The deposition topics and document requests under advisement following

   Dominion’s Motion to Modify Subpoena (ECF #125) directly relate to Defendants’ arguments that

   some of the complained-of statements were not “inherently improbable” for purposes of actual

   malice. (See Minute Order, ECF #133 (noting deposition topic nos. 12, 22, 23, 27–30 and request

   for production nos. 30, 32, and 35 are under advisement); see also Def. Mot. Summ. J., ECF #177,

   at 42–46). Depending on how the Court resolves Dominion’s pending motion, Plaintiff’s motions

   related to Tina Peters, (ECF #97), and Plaintiff’s Objection to CD Solutions Inc.’s Confidentiality

   Designations (ECF #113), it may be necessary to amend and/or supplement the record regardless

   of how the Court resolves Plaintiff’s Motion for Sanctions.

          13.     Plaintiff also has not shown good cause to obtain additional time to respond to

   Defendants’ Motion for Summary Judgment because the relief Plaintiff seeks, if appropriate, is




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   presently available under Rule 56. In responding to a motion for summary judgment, a nonmovant

   may show “by affidavit or declaration that, for specified reasons, it cannot present facts essential

   to justify its opposition,” thereby allowing the Court to “(1) defer considering the motion or deny

   it; (2) allow time to obtain affidavits or declarations or to take discovery; or (3) issue any other

   appropriate order.” Fed. R. Civ. P. 56(d).

            14.    Defendants doubt Plaintiff will be able to make this showing given the extensive

   record bearing on Lindell’s state of mind. Nonetheless, Plaintiff has the opportunity to identify all

   outstanding issues in a timely response to Defendants’ Motion for Summary Judgment. Defendants

   reserve all rights to respond to any affidavits or declarations submitted under Rule 56(d) in their

   reply.

                                            CONCLUSION

            Plaintiff’s Motion for Extension of Time should be denied for all reasons set forth above.

   Defendants further reserve all rights to oppose Plaintiff’s Motion for Sanctions and to seek

   appropriate relief arising from that motion.



   DATED: September 15, 2023                      PARKER DANIELS KIBORT LLC

                                                  By: /s/ Ryan P. Malone
                                                       Andrew D. Parker (MN Bar #195042)
                                                       Ryan P. Malone (MN Bar #395795)
                                                       888 Colwell Building
                                                       123 N. Third Street
                                                       Minneapolis, MN 55401
                                                       Telephone: (612) 355-4100
                                                       Facsimile: (612) 355-4101
                                                       parker@parkerdk.com
                                                       malone@parkerdk.com

                                                        Counsel for Defendants




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